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                                        December 5, 2022
By ECF
The Honorable Katherine Polk Failla


                                                  MEMO ENDORSED
United States District Court
for the Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square, Room 618
New York, New York 10007

Re: Dinosaur Financial Grp. LLC et al. v. S&P Global, Inc. et al., 22 Civ. 1860 (KPF); Hildene
Capital Management, LLC v. American Bankers Association et al., 22 Civ. 1929 (KPF)

     Subject: Joint Proposed Schedule for Amended Complaint and Motion to Dismiss

Dear Judge Failla:

        In accordance with the Court’s directions at the November 17, 2022 court conference, the
parties have met and conferred and agreed upon a schedule for plaintiffs to file an amended
complaint and for defendants’ joint motion to dismiss, as well as suggested page limits for the
briefing on the motion to dismiss. Subject to the Court’s approval, the parties have agreed to the
following schedule:
           •   Plaintiffs file amended complaint by December 21, 2022
           •   Defendants file joint motion to dismiss not to exceed 35 pages by February 14,
               2023
           •   Plaintiffs file opposition to joint motion to dismiss not to exceed 35 pages by April
               3, 2023
           •   Defendants file reply in support of joint motion to dismiss not to exceed 17 pages
               by April 27, 2023.

 Respectfully Submitted,

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                                                    The Honorable Katherine Polk Failla
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Application GRANTED. The parties shall follow the amendment and briefing
schedule set forth above. In light of the parties requesting to file
over-length briefs, the Court expects that the parties will strictly
adhere to the above page limits.

The Clerk of Court is directed to also file this endorsement also in 22
Civ. 1929.

Dated:   December 5, 2022               SO ORDERED.
         New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
